     Case 3:07-cv-00606-HEH Document 7 Filed 01/29/08 Page 1 of 2 PageID# 20



                           IN THE UNITED STATES DISTRICT COURT                    J/W 2 9 2008
                         FOR THE EASTERN DISTRICT OF VIRGINIA,
                                          Richmond Division


JONATHAN LEE RICHES,                             )
                                                 )
       Plaintiff,                                )

                                                 )
v.                                               )                 Civil Action No. 3:07CV606-HEH
                                                 )
JOHN PHILLIP WALKER LINDH, el a!.,               )

                                                 )
        Defendants                               )


                                    MEMORANDUM OPINION
                              (Dismissing Action Without Prejudice)


       By Memorandum Order entered on October 23, 2007, the Court conditionally docketed


Plaintiffs action. At that time, the Court directed Plaintiff to submit a statement under oath or


penalty of perjury that:


       (A)      Identifies the nature of the action;
        (B)     States his belief that he is entitled to relief;
        (C)    Avers that he is unable lo prepay fees or give security therefor; and,
        (D)     Includes a statement of the assets he possesses, which must include the
               current balance in his inmate hold account.


See 28 U.S.C. § !915(a)(l). The Court provided Plaintiff with an in forma pauperis affidavit


form for this purpose.


        Additionally, the Court directed Plaintiff to affirm his intention to pay the full filing fee


by signing and returning a consent to the collection of fees form. The Court warned Plaintiff that


a failure to comply with either of the above directives within thirty (30) days of the dale of entry


thereof would result in summary dismissal of the action.


        Plaintiff has not complied with the orders of this Court. Plaintiff failed to return a


completed in forma pauperis affidavit form and a consent to collection of fees form. As a result,


he docs not qualify for in forma pauperis status. Furthermore, he has not paid the statutory filing
    Case 3:07-cv-00606-HEH Document 7 Filed 01/29/08 Page 2 of 2 PageID# 21



fee for the instant complaint. See 28 U.S.C. § 1914(a). Such actions demonstrate a wilful failure

to prosecute. See Fed. R. Civ. P. 41(b). Accordingly, this action will be DISMISSED


WITHOUT PREJUDICE.


        An appropriate Order will accompany this Memorandum Opinion.


                                                                    /s/
                                                     Henry E. Hudson
                                                     United States District Judge

Date:           ^
Richmond, Virginia
